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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 REX CLAY,                                        )
                                                  )
                Plaintiff,                        )
                                                  )
        vs.                                       )
                                                  ) Case No. 1:15-cv-0075-TWP-MPB
 MARTIN MARIETTA MATERIALS,                       )
 INC.,                                            )
          Defendant.                              )
                                                  )
                                                  )

           JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        The parties hereby stipulate and agree to the dismissal, with prejudice, of the above-

 captioned cause of action in its entirety, with each party to bear its own costs and fees.




                                                       Respectfully submitted,

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